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                   Composite Exhibit “1”
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Reg. No. 5,540,330         Gianni Versace S.p.a. (ITALY JOINT STOCK COMPANY)
                           Via Manzoni 38
Registered Aug. 14, 2018   Milano, ITALY

                           CLASS 26: Buttons for clothing; Hooks and eyes; Safety pins; Sewing pins; Press buttons
Int. Cl.: 26
                           OWNER OF EUROPEAN UNION , REG. NO. 1665306, DATED 05-19-2003, EXPIRES
Trademark                  05-19-2020

Principal Register         The mark consists of the head of Medusa, a character in Greek mythology.

                           OWNER OF U.S. REG. NO. 4460484, 2980455

                           SER. NO. 87-748,570, FILED 01-09-2018
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        REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
     WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
            DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

   Requirements in the First Ten Years*
   What and When to File:

        First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
        years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
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        date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

        Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


   Requirements in Successive Ten-Year Periods*
   What and When to File:

        You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*


   Grace Period Filings*

   The above documents will be accepted as timely if filed within six months after the deadlines listed above with
   the payment of an additional fee.

   *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
   extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
   (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
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   deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
   nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
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   international registration at the International Bureau of the World Intellectual Property Organization, under
   Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
   date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
   international registration, see http://www.wipo.int/madrid/en/.

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   ttp://www.uspto.gov.

   NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
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   USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
   Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
   available at http://www.uspto.gov.




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Reg. No. 5,937,934         Gianni Versace SRL (ITALY LIMITED LIABILITY COMPANY)
                           Via A. Manzoni, 38
Registered Dec. 17, 2019   Milan, ITALY 20121

                           CLASS 9: Protective cases for cell phones; Protective cases for laptop computers; Protective
Int. Cl.: 9                cases for portable media players
Trademark                  FIRST USE 6-7-2019; IN COMMERCE 6-7-2019

Principal Register         The mark consists of the head of Medusa, a character in Greek mythology.

                           SER. NO. 88-464,503, FILED 06-07-2019
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        registration will continue in force for the remainder of the ten-year period, calculated from the registration
        date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

        Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
        for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


   Requirements in Successive Ten-Year Periods*
   What and When to File:

        You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
        between every 9th and 10th-year period, calculated from the registration date.*


   Grace Period Filings*

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   date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
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   USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
   Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
   available at http://www.uspto.gov.




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Reg. No. 6,082,409           GIANNI VERSACE S.R.L. (ITALY LIMITED LIABILITY COMPANY)
                             Piazza Luigi Einaudi 4
Registered Jun. 23, 2020     I-20124 Milano
                             ITALY
Int. Cl.: 3, 9, 14, 18, 25   CLASS 3: Cosmetics, namely, night and day creams; non-medicated chemical preparations
                             for cleaning the face and body; bath foam; shaving foam; after shave; make-up foundations;
Trademark                    lip gloss; shoe wax; mascara; cosmetic masks; eyebrow pencils; pencils for cosmetic
                             purposes; nail varnish; deodorants for men and women; non-medicated hand and body soap;
Principal Register           hair shampoo and hair tints; hair lotions; lotions for cosmetic purposes; hair lacquers;
                             dentifrices and fragrances; perfumary, cologne, lavender water, scented water and essential
                             oils for personal use, for men and women; flower perfumes; sun-tanning preparations;
                             cosmetic preparations for baths; personal deodorants; non-medicated skincare cosmetics;
                             make-up preparations; non-medicated cleaning products for the skin; shaving preparations;
                             non-medicated toiletry preparations; make-up removing preparations; talcum powder, for
                             toilet use

                             CLASS 9: Spectacles; sunglasses, optical glasses; goggles for sports; optical frames;
                             monocles; theatre glasses; optical goods, namely, glasses and lenses; containers for contact
                             lenses; eye glasses cases; pince-nez cords; magnifying glasses; correcting lenses being
                             contact lenses; optical lenses; lenses for eyeglasses; frames for eye glasses; electronic
                             schedulers being personal digital assistant computers; computers, handheld computers; mouse
                             being computer peripherals; mouse mats; computer keyboards; portable telephones;
                             downloadable ring tones for mobile phones; cell phone straps

                             CLASS 14: Jewellery, precious stones; horological and chronometric instruments; rings being
                             jewelry; cuff links; bracelets; watch bands; watch cases being parts of watches; clock cases
                             being parts of clocks; watch chains; jewelry chains; pendants; necklaces; chronographs as
                             watches; timepieces; stopwatches; chronoscopes; diamonds; tie pins; figurines of precious
                             metal; gold thread jewelry; wire of precious metal for use in the making of jewelry, namely,
                             jewelry cable; silver thread jewelry; jewellery; cloisonné jewellery; badges of precious metal;
                             clock hands; alloys of precious metal; ingots of precious metals; movements for clocks and
                             watches; medals; lockets; earrings; jewellery of yellow amber; ornaments of precious metal in
                             the nature of jewelry; ornaments of jet, shoe ornaments of precious metal being shoe jewelry;
                             hat ornaments of precious metal being hat jewelry; pendulum clocks; atomic clocks;
                             wristwatches; pocket watches; master clocks; electric clocks and watches; jewellery stones;
                             key rings; clock dials; boxes of precious metal; cases for clock- and watchmaking being parts
                             for watches and clocks; jewellery cases; cases adapted for holding watches; pins being
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                         jewelry; ornamental lapel pins; brooches being jewelry; statuettes of precious metal; paste
                         jewellery; time instruments being chronometric instruments; alarm clocks; watch crystals

                         CLASS 18: Leather and imitations of leather; animal skins, animal hides; women's handbags;
                         pocket wallets; luggage; garment carriers being garment bags for travel; rucksacks; document
                         cases; sports bags; trunks being luggage; travelling trunks; carry-on bags; sling bags; garment
                         bags for travel; valises; suitcases; attaché cases; purses; travelling handbags; notecases,
                         namely, business card cases; key cases, umbrellas; parasols; beach parasols; walking sticks;
                         alpenstocks; whips; harness for horses; saddlery

                         CLASS 25: Clothing, namely, shirts, pants, jeans, sweaters, skirts, dresses; footwear;
                         headwear; clothing of imitations of leather, namely, pants, jackets; clothing of leather,
                         namely, pants, jackets; motorists' clothing, namely, motorists' jackets, driving gloves; cyclists'
                         clothing, namely, biking shorts, athletic shirts, cycling gloves; clothing for gymnastics,
                         namely, leotards, leggings; gowns; bath robes; bandanas; berets; underclothing; smocks;
                         boas; teddies being undergarments; garters; sports shoes; stockings; slippers; socks; jodhpurs;
                         short-sleeve shirts; shirts; jackets; top hats; coats; hoods; belts for clothing; money belts;
                         tights; collars; detachable collars; suits; beachwear; ties as clothing; ascots; headbands for
                         clothing; pocket squares; dress pocket squares; skirts; jumper dresses; girdles; gloves; arm
                         length gloves; rain coats; ready-to-wear clothing, namely, shirts, pants, dresses; knitwear,
                         namely, knit shirts, knit skirts, knit dresses, knit sweaters, knit jackets; jerseys being clothing;
                         leg warmers; leggings; liveries; sports jerseys; hosiery; swimsuits; pullovers; muffs;
                         maniples; pelerines; mantillas; sleep masks; miniskirts; cowls being clothing; boxer shorts;
                         bathing drawers as clothing; vests, trousers; parkas; pelisses; furs being clothing; shirt yokes;
                         pyjamas; wristbands as clothing; ponchos; sock suspenders; brassieres; sandals; bath sandals;
                         shoes; bath slippers; gymnastic shoes; beach shoes; shawls; sashes for wear; underpants;
                         wimples; topcoats; outerclothing, namely, jackets, coats, vests; petticoats; slips being
                         undergarments; shirt fronts; ankle boots; boots; fur stoles; t-shirts; combinations being
                         clothing; uniforms; veils; visors being headwear; wooden shoes

                         The mark consists of a stylized letter "V" with leaves, vines, and a flower on it.

                         PRIORITY DATE OF 01-18-2019 IS CLAIMED

                         OWNER OF INTERNATIONAL REGISTRATION 1481566 DATED 02-14-2019,
                         EXPIRES 02-14-2029

                         SER. NO. 79-264,790, FILED 02-14-2019




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   Grace Period Filings*

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Reg. No. 6,088,586         GIANNI VERSACE S.R.L. (ITALY LIMITED LIABILITY COMPANY)
                           Piazza Luigi Einaudi 4
Registered Jun. 30, 2020   Milano, ITALY 20124

                           CLASS 9: Protective cases for cell phones; Protective cases for laptop computers; Protective
Int. Cl.: 9                cases for portable media players

Trademark                  FIRST USE 6-7-2019; IN COMMERCE 6-7-2019

Principal Register         THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           SEC.2(F)

                           The name(s), portrait(s), and/or signature(s) shown in the mark does not identify a particular
                           living individual.

                           SER. NO. 88-464,490, FILED 06-07-2019
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